
*453OPINION.
Littleton :
There was a definite understanding and agreement between petitioner and Williams on April 8,1919, when he gave his note for $124,700 for that amount of petitioner’s stock, that as soon as the 1,247 shares of stock of the Convoy Steamship Co. for which Williams had theretofore paid $124,700 in cash was received, the same should be turned in to the petitioner in lieu of the promissory note and this was done on April 10, 1919, two days after the note was given. The only reason the note was given was because the Convoy Steamship Co.’s stock was late in reaching Williams and it ivas desired to perfect the organization of the petitioner. Although the' note of *454Williams was not formally canceled until a subsequent year it was definitely understood by him and the corporation that the delivery of the Convoy Steamship Co.’s stock on April 10 satisfied and discharged the note. Williams was entirely solvent and fully able to'pay his note and from the evidence we are of the opinion that it had an actual cash value at the time paid in for stock of $124,700. It was bona fide paid in for stock on April 8 and constituted invested capital of the petitioner on April 8 and April 9,1919. Hewitt Rubber Co., 1 B. T. A. 424. On April 10,1919, Williams paid the note by delivery to the petitioner of $124,700 par value of the Convoy Steamship Co.’s stock, which stock we are of opinion from all the evidence had an actual cash value at that time equal to its par value. In any event, when petitioner exchanged an asset having a cash value of $124,700 for the 1,247 shares of the Convoy Steamship Co.’s stock, that was the cost of such stock to the petitioner. On and after April 10,1919, the promissory note of Williams having been paid, although not formally canceled, was not a bona fide asset of the petitioner. In computing petitioner’s invested capital after April 8, 1919, the promissory note of Williams should be considered at the value of $124,700 for two days, and, thereafter, the stock of the Convoy Steamship. Co. should be considered at a like value.

Judgment will be entered on 15 days' notice, under Rule 50.

